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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  DISPLAY TECHNOLOGIES, LLC,            §
                                        §
        Plaintiff,                      §              Case No: 0:21-cv-62521-MGC
                                        §
  vs.                                   §              PATENT CASE
                                        §
  BEURER NORTH AMERICA, L.P.,           §
                                        §
        Defendant.                      §
  _____________________________________ §

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

  Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

  According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

  court by filing a notice of dismissal at any time before service by the adverse party of an answer.

  Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Beurer North

  America, L.P. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own

  fees and costs.

  Dated: January 20, 2022.                     Respectfully submitted,



                                               /s/Barbra A. Stern
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                                               ATTORNEY(S) FOR PLAINTIFF




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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true copy of the foregoing was filed electronically
  and served by operation of the Court’s electronic filing system on January 20, 2022. Parties may
  access the foregoing through the Court’s system.


                                           /s/ Barbra A. Stern
                                           BARBRA A. STERN




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